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4                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
5                                       AT TACOMA

6    CHRISTOPHER MICHAEL TAYLOR ,
                                                         Case No. 2:21-cv-1182-MJP-TLF
7                              Plaintiff,
              v.                                         ORDER ADOPTING REPORT AND
8                                                        RECOMMENDATION
     KING COUNTY WA, et al.,
9
                               Defendants.
10

11            The Court, having reviewed plaintiff's complaint, the Report and

12   Recommendation of Judge Theresa L. Fricke, United States Magistrate Judge, and

13   objections to the report and recommendation, if any, and the remaining record, does

14   hereby find and ORDER:

15      (1)    the Court adopts the Report and Recommendation;

16      (2)    Plaintiff’s application to proceed in forma pauperis (Dkt. 1, 4) is DENIED; and

17      (3)    Plaintiff’s complaint is DISMISSED with prejudice.

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19            Dated this 2nd day of November, 2021.

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22                                                     A
                                                       Marsha J. Pechman
23                                                     United States Senior District Judge
24

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     ORDER ADOPTING REPORT AND
     RECOMMENDATION - 1
